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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

__________________________________________
WEIDONG LI,                                |
on his own behalf and on behalf of         |
others similarly situated                  |
                                           |
       Plaintiff,                          |
                                           |
v.                                         |              Civil Action No. 23-cv-01487-DKC
                                           |
                                           |
ESCAPE NAILS & SPA, LLC, et. al            |
                                           |
                                           |
       Defendants.                         |
_________________________________________ |

     OPPOSITION OF DEFENDANT ESCAPE NAILS & SPA, LLC AND DEFENDANT
              LINH TUONG NGUYEN TO PLAINTIFF WEIDONG LI’S
     MOTION FOR CONDITIONAL CERTIFICATION OF FLSA COLLECTIVE AND
                    COURT AUTHORIZED NOTIFICATION

       Defendant Escape Nails & Spa, LLC (“Defendant Escape Nails”) and Defendant Linh

Tuong Nguyen (“Defendant Nguyen”) (collectively, “Defendants”), by and through their

undersigned counsel, respectfully submit this Opposition to Plaintiff Weidong Li’s January 26,

2024 Motion for Conditional Certification of FLSA Collective and Court Authorized Notification

(“Motion”). See ECF Doc. No. 39.

I.     CASE BACKGROUND

       Plaintiff filed the instant action on June 1, 2023 against Defendant Escape Nails and

Defendant Nguyen, individually, asserting claims for unpaid overtime under the Fair Labor

Standards Act (Count I); unpaid overtime under Maryland law (Count II); and failure to provide

wage notices under Maryland law (Count III). ECF No. 1.

       On October 16, 2023, in an effort to avoid the expense of motion practice, Defendants
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agreed to a Joint Motion to Approve Stipulation for Conditional Certification of FLSA Collective

and Court-Authorized Notification (“Stipulation”). See ECF No. 34. The Court denied the

Stipulation because Plaintiff Li failed to satisfy the minimum evidentiary threshold necessary to

establish that putative members of the collective are “similarly situated” as required by Section

216(b) of the FLSA. See ECF Nos. 35-36. Plaintiff’s instant Motion seeks to satisfy the “similarly

situated” requirement by submitting his lone affidavit regarding various other individuals with

whom he allegedly worked—and some with whom he did not actually work, see discussion infra—

during the relevant period. To date, other than Plaintiff Li, no opt-in consent forms have been filed

with the Court in this case.

II.    PLAINTIFF’S AFFIDAVIT

       In support of the Motion, Plaintiff Li ‘s Affidavit references thirteen other nail technicians

whom he “befriended,” the majority of whom are identified by first name only—“Anna”; Chi Le”;

“Tiffany”; “Tiffany 2”; Xia Wang a/k/a Little Wang; “Henry”; “John Lee”; “Louis”; “Koby”;

“Olivia”; “Pheonix” (sic); “Helen”; and “Sydney.” See ECF No. 40-5 (“Affidavit”), at ¶ 11.

Despite Plaintiff Li’s assertion that he only worked for Defendant Escape for roughly four

months—July 20, 2020 to December 1, 2020, see Affidavit, at ¶ 3—as to eleven of the thirteen

individuals initially identified, the Affidavit makes various allegations regarding their tenure with

Defendant Escape Nails, as well as hours worked during such tenure. See Affidavit generally. The

Affidavit is largely formulaic and repetitive in structure and sets forth each of the foregoing

individuals’ names, each of their schedules, the manner in which they were paid, and how Plaintiff

Li purportedly became aware of such information. See Affidavit generally.

       Regarding Plaintiff Li’s basis for his assertions relative to how the other workers were paid,

Plaintiff Li avers that these individuals “informed him” of the manner in which they were


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compensated, that he had discussions—sometimes “occasionally”—with them regarding their

pay,” and/or because he “observed this.” See Affidavit, at ¶¶ 29, 35, 40, 45, 51, 56, 63, 70, 77, 85.

Notably, in two instances—John Lee and Chi Lee—the Affidavit provides such information,

notwithstanding the fact that these individuals “started working for the Defendants after [Plaintiff

Li] left.” See id. at ¶¶ 43, 54. In this regard, Plaintiff Li appears to rely exclusively on discussions

with these two individuals, as well as on “observations” regarding their comings and goings when

they lived in the same dormitory. See id. at ¶¶ 45, 56.

        The final page of Plaintiff Li’s Affidavit consists of a “Translator’s Declaration” signed by

“Lin, Jenny” (“Ms. Lin”). See ECF No. 40-5. In support of her “qualifications” in translating the

Affidavit, Ms. Lin states that she received a “Chinese Education” in China until she was five years

of age; that she “regularly and routinely practices[s] Chinese at home with her grandmother and

parents” and she is “well-versed” in both Chinese in English. Id. The Translator Declaration

concludes that Ms. Lin “assisted in the preparation of the affidavit and provided a true and accurate

translation of the foregoing Plaintiff’s Affidavit in Support of Motion for Default to Li,

Weidong, who has confirmed to me that he comprehended the contents thereof…” Id. (bolding

and underlining original). In addition to referencing the incorrect document which it purports to

translate, Ms. Lin’s Translator Declaration is devoid of any information relating to the nature of

her relationship with Plaintiff Li or Plaintiff Li’s counsel in this case, as well as any reference to

her formal certifications or credentials, if any, as a translator. See id.

III.    APPLICABLE STANDARD

        Plaintiff’s Motion asks this Court to rely upon the two-stage certification process first

articulated by the United States District Court for the District of New Jersey in the decision of

Lusardi v. Xerox Corp., 118 F.R.D. 351 (D.N.J. 1987). Under Lusardi and its progeny, courts


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presented with a request for certification of an FLSA collective rely upon a two-stage process, the

first of which consists of satisfying a lenient standard in determining whether to grant “conditional

certification,” resulting in the provision of notice to potential members of the collective. Following

conditional certification, “[i]n the second stage, following the close of discovery, the court

conducts a ‘more stringent inquiry’ to determine whether the plaintiffs are in fact ‘similarly

situated,’ as required by 216(b).” Mitchel v. Crosby Corp., 2012 U.S. Dist. LEXIS 128362,

at *7, 2012 WL 4005535 (D. Md. 2012) (J. Chasanow) (citing Rawls v. Augustine Home

Healthcare, Inc., 244 F.R.D. 298, 300 (D. Md. 2007)). “At this later stage, referred to as the

decertification stage, the court makes a final decision about the propriety of proceeding as a

collective action.” Id.

         Notably, neither the United States Supreme Court, nor the United States Court of Appeals

for the Fourth Circuit have expressly adopted the Lusardi framework. Hernandez v. KBR Servs.,

LLC, 2023 US Dist. LEXIS 140795, *12-13, 2023 WL 5181795 (E.D. Va. Aug. 11, 2023)

(“[N]either the Fourth Circuit nor the Supreme Court has prescribed a process for certification of

FLSA collectives.”). “Rather, the Fourth Circuit has noted only that district courts have discretion

to supervise the notice-giving process.” Matthews v. United States Today Sports Media Group,

LLC, 2023 U.S. Dist. LEXIS 95475, at *7, 2023 WL 3676795 (E.D. Va. 2023).1

         While a plaintiff’s evidentiary burden necessary for conditional certification of an FLSA

collective is a modest one, it is not merely a rubber stamp. See Johnson v. Helion Techs., Inc.,


1
  In recent years, the Lusardi framework has come under assault for the lack of associated textual basis within § 216(b)
of the FLSA, as well as its lack of practical utility as a case management tool. See Swales v. KLLM Transp. Servs.,
LLC, 985 F.3d 430 (5th Cir. 2021) (finding that “Lusardi distracts from the FLSA’s text…” because “[t]he FLSA, and
216(b) in particular, say[] nothing about ‘conditional certification….”); Clark v. A&L Homecare & Training Ctr.,
LLC 68 F.4th 1003 (6th Cir. May 19, 2023) (rejecting Lusardi and adopting standard under which plaintiff must
demonstrate a “strong likelihood” that employees are similarly situated to plaintiff). Notwithstanding, the majority of
the district courts within the Fourth Circuit presented with the invitation to adopt a differing standard have declined
to do and have remained faithful to the Lusardi approach. See, e.g., Thomas v. Maximus, Inc., 2022 U.S. Dist. LEXIS
84827, *12 (E.D. Va. 2022) (declining to depart from Lusardi).
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2019 U.S. Dist. LEXIS 158047, at *13-14, 2019 WL 4447502 (D. Md. 2019) (“To meet this burden

and demonstrate that potential class members are ‘similarly situated,’ [p]laintiffs must set forth

more than ‘vague allegations’ with ‘meager factual support’ regarding a common policy to violate

the FLSA.”) (quoting D’Anna v. M/A COM, Inc., 903 F. Supp. 889, 894 (D. Md. 1995));

Kirkpatrick v. Cardinal Innovations Healthcare Sols., 2017 U.S. Dist. LEXIS 141783, at *12,

2017 WL 3841858 (M.D.N.C. Sept. 1, 2017) (“The standard for conditional certification…is not

a rubber stamp.”).

IV.     ARGUMENT

        A.       Plaintiff Li’s Affidavit Fails to Satisfy the Modest Burden Necessary To Meet the
                 Similarly Situated Requirement For Purposes of Establishing Conditional
                 Collective Certification.

        As discussed further below, Plaintiff Li’s Affidavit has the appearance of a formulaic and

conclusory document, the framework of which has previously been rejected by other courts for

purposes of satisfying the conditional collective certification requirement, in the absence of further

documentation supporting conditional certification.

        In Ye Ming Huang v. Sakura Mandarin, Inc., 2022 U.S. Dist. LEXIS 177917, at *7-8, 2022

WL 4585533 (E.D. Pa. 2022) (“Ye Ming Huang I”),2 the plaintiff sought conditional collective

certification based on his lone affidavit.3 In such affidavit, plaintiff identified other employees, all

of whom were alleged to have worked similar hours and received similar pay as plaintiff. Id. *6-

8. Plaintiff claimed that he knew that the other employees worked 70 or more hours per week

because he and the other workers “would arrive and leave at the same time.” Id. at *6-7. Plaintiff

further claimed that he knew the amounts made by other workers because they “talked about how


2
  In Ye Ming Huang I and Ye Ming Huang II, discussed infra, the plaintiff was represented by Troy Law, PLLC, the
same counsel for Plaintiff in this case.
3
  For ease of the Court’s reference, Defendants have attached the plaintiff’s affidavit in Ye Ming Huang I hereto as
Exhibit 1.
                                                         5
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much everyone got paid.” Id.

        In assessing the sufficiency of the plaintiff’s affidavit in whether he satisfied his burden for

establishing conditional certification, the court acknowledged that the affidavit identified specific

other employees and provided some personal knowledge regarding alleged violations of the FLSA.

Id. at *7 (“This affidavit takes a small step towards the required proof. It does identify specific

other employees, in two instances providing full names of those employees, and provides some

personal knowledge suggesting that they are also not being paid overtime.”). However, the court

explained that the plaintiff failed to satisfy the necessary “modest factual showing” because he

“must provide some additional documentation: his own pay stubs or work schedules, affidavits

from his other co-workers, or records and documents…” Id. *7-8. Thus, the court concluded that

the evidence presented by plaintiff, including his “mere observations of…former corkers was “too

‘speculative, conclusory, and vague’ for the [c]ourt to determine that other current and former

employees of [defendant] similarly situated to [plaintiff] exist.” Id. *11-12. The court further noted

the fact that while plaintiff was no longer employed with defendant, such fact “did not excuse his

failure to avail himself of discovery or otherwise recruit current or former employees…to support

his claim.” Id. *9. While the court denied the plaintiff’s motion, it provided him with an

opportunity to present additional evidence and submit a renewed motion for conditional

certification. Id.

        Following the court’s denial of the plaintiff’s motion for conditional certification in Ye

Ming Huang I, the plaintiff filed a related suit styled Ye Ming Huang v. Bai Wei LLC, 2023 U.S.

Dist. LEXIS 142635*, 2023 WL 5243364 (E.D. Pa. Aug. 14, 2023) (“Ye Ming Huang II”). The

plaintiff filed a motion for conditional collective certification, offering “(1) his affidavit submitted

in connection with the motion for conditional collective certification in [Ye Ming Huang I], (2) his


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supplemental affidavit, (3) two purported work schedules for the restaurant, and (4) …his pay

records.” Id. at *4.

         The court began by observing that “for the reasons set forth in the [c]ourt's denial of

conditional class certification in the Ye Ming Huang I, [plaintiff’s] initial affidavit is not enough,

on its own, to make the ‘modest factual showing’ required here.” Id. at *12. Turning to the

plaintiff’s 16-page supplemental affidavit,4 the court expressed concerns regarding the fact that

plaintiff’s counsel had served as his interpreter for purposes of its preparation. Id. *12-15.

Regarding the substance of the supplemental affidavit, the court observed that “[w]hile [the

plaintiff] states that he made personal observations as to how much time other employees worked

in the restaurant on a weekly basis, the supplemental affidavit gives meager support as to whether

[the plaintiff’s] co-workers received deficient pay for their time at the restaurant—indeed the

supplemental affidavit makes no mention of overtime compensation at all, and only in the most

conclusory of statements[,] remarks that all workers were compensated in the same manner as [the

plaintiff].” Id.5 Finally, regarding the work schedules and pay records submitted by the plaintiff,

the court reasoned that in addition to issues surrounding the translation of such documents, the

records did “not enlighten the Court as to whether other workers at [defendant] are similarly

situated to [the plaintiff]” because such records related only to plaintiff himself. Id. *19. For these

reasons, the court denied plaintiff’s motion for conditional certification. Id.

         Here, Plaintiff Li’s Affidavit consists of conclusory allegations regarding violations of the

FLSA that are similar in substance and form to the affidavits at issue in Ye Ming Huang I. Further,




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  For ease of the Court’s reference, Defendants have attached the plaintiff’s affidavit in Ye Ming Huang II hereto as
Exhibit 2.
5
  Notably, the court reached this conclusion, despite the fact that the plaintiff’s affidavit in Ying Ming Huang I
contained some conclusory allegations that referenced overtime. See Exhibit 1, at ¶ 27 (stating in part, “[s]pecifically
my co-workers were also not paid overtime and minimum wages…”).
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unlike in Ye Ming Huang II, Plaintiff Li has not attempted to provide any documentation in support

of his request for conditional collective certification, even when provided a second opportunity to

do so by this Court.

           In addition to the precedent set forth above, courts in the Fourth Circuit have similarly

denied requests for conditional collective certification in circumstances similar to those of the

instant case, in which a plaintiff sought to rely solely upon his or her own conclusory affidavit. In

You v. Grand China Buffett & Grill, Inc., 2018 U.S. Dist. LEXIS 42655, at *6-7, 2018 WL

1352174 (N.D.W.V. 2018),6 the plaintiff offered a single affidavit in support of his motion for

conditional certification, in which he identifie[d], by first name, nickname, and/or physical

description only, approximately seven (7) waiters that he allege[d] worked at [a] restaurant and

were ‘paid similarly’ to him, as well as a few cooks and food preparers to whom he claim[ed] to

have spoken ‘briefly about the general wage situation.’”

           Subsequently, the plaintiff submitted a supplemental affidavit, in which plaintiff

“identified, by first name and physical description, approximately ten (10) waiters, who he

claim[ed], were paid no base wages or overtime and earned only tips,” as well as “approximately

eight kitchen workers he claim[ed] were paid flat monthly wages and no overtime.” Id. at *7-8.

The plaintiff further asserted that his knowledge was “based on personal conversations with the

other waiters about ‘how they were paid.’” Id. at *8.

           Finding that the plaintiff’s affidavits failed to meet the modest factual showing standard,

the court explained:

                    “Beyond these affidavits, there is no evidence supporting
                    [plaintiff’s] contention of the existence of a similarly situated group
                    of potential plaintiffs. Despite the opportunity to provide further
                    support for his position, [plaintiff] failed to submit affidavits from
                    other current or former restaurant employees, or even to provide
6
    In You v. Grand China Buffett & Grill, Inc., the plaintiff was represented by Troy Law, PLLC.
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                their full names. Nor has he otherwise supplemented his motion
                with other evidence, such as tax returns, social security earnings
                statements, and other documents that would establish [the
                plaintiff’s] and others’ employment at the restaurant.”

Id. *8-10.

        Similarly, here—despite the Court’s Order denying the Parties’ Stipulation and explaining

the deficiencies associated with the same—Plaintiff Li has not produced any additional evidence

or documentation beyond his own conclusory allegations set forth in his Affidavit. Indeed, in this

regard, Plaintiff Li did not file a single affidavit from the other individuals which he “befriended”

in support of the Motion. Relatedly, and while admittedly not determinative as to this Court’s

decision regarding whether to grant the instant Motion, not a single individual beyond Plaintiff Li

has expressed an interest in joining this suit by filing an opt-in consent. See Eng-Hatcher v. Sprint

Nextel Corp., No. 07-cv-7350, 2009 U.S. Dist. LEXIS 127262, at *11, fn. 6, 2009 WL 7311383

(S.D.N.Y. Nov. 13, 2009) (“While not a conclusive factor in its decision, the Court does find it

telling that after nearly four months of discovery [p]laintiff is unable to present any evidence, other

than her own allegations, that other current or former aggrieved [employees] exist and desire to

participate as plaintiffs in this case.”). More than eight months have passed since this case was

filed, and Plaintiff Li remains the only party plaintiff to this case.

        B.      Deficiencies Associated With the “Translator’s Declaration” Accompanying
                Plaintiff’s Affidavit Further Support Denial of Plaintiff Li’s Motion.

        Defendants acknowledge that this court has held that the fact that an affidavit or declaration

contains hearsay is not relevant for purposes of determining whether to grant a motion for

conditional collective certification. See Cummins v. Ascellon Corp., 2020 U.S. Dist. LEXIS

207677, at *7-8 (D. Md. 2020) (J. Chasanow). However, Federal Rule of Evidence 604 provides

that, “[a]n interpreter must be qualified and must give an oath or affirmation to make a true


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translation.” Here, beyond providing general background regarding her upbringing, ability to

speak Chinese and English, and a conclusory assertion regarding her competency, Ms. Lin

provides little support for her qualifications as a translator. Further, the Affidavit contains other

indicia of unreliability. In this regard, the fact that Plaintiff Li’s Affidavit purports to relate to an

issue that is not even before this Court—“a Motion in Support of Default”— calls into question

Ms. Lin’s qualifications and the utility of the Affidavit for purposes of deciding the instant Motion.

        Moreover, to the extent that Ms. Lin is affiliated with “Troy Law, PLLC” as a paralegal or

in any another capacity, such fact further calls the utility of the Affidavit into question. See Ye

Ming Huang II, at *14 (stating that “[n]or is the Court persuaded that [plaintiff’s] counsel acted

properly in acting simultaneously as attorney and translator for [plaintiff], particularly where there

is no indication that she is qualified as a Mandarin Chinese interpreter,” and “[g]iven that the Court

struggles to find any indicia of reliability here, it will not turn a blind eye to the ‘technical

improprieties’ of the supplemental affidavit.”) (emphasis original)).

V.      CONCLUSION

        “As a matter of sound case management, a court should, before offering [to assist plaintiff

in locating additional plaintiffs], make a preliminary inquiry as to whether a manageable class

exists.” D’Anna v. N/A-COM, Inc., 903 F. Sup 889, 894 (D. Md. 1995) (citing Severson v. Phillips

Beverage Co., 137 F.R.D. 264 (D. Minn. 1991)). Further, “[t]he courts, as well as practicing

attorneys, have a responsibility to avoid the ‘stirring up’ of litigation through unwarranted

solicitation.” Id. (internal quotations and citations omitted). Here, Plaintiff Li has not carried his

burden to establish that conditional collective certification is appropriate, and accordingly, the

Motion should be denied. In the event the Court deems it appropriate to grant conditional collective

certification, Defendants respectfully request approval of the notice-related submittals previously


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provided in connection with the Parties’ Stipulation, as opposed to those proposed by Plaintiff Li

in connection with the instant Motion.

Dated:         February 9, 2024              Respectfully submitted,


                                             /s/ Craig J. Franco
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                                             *Admitted Pro Hac Vice.

                                  CERTIFICATE OF SERVICE

        I certify that on February 9, 2024, a copy of the forgoing Opposition of Defendant Escape
Nails & Spa, LLC and Defendant Linh Tuong Nguyen to Plaintiff Li’s Motion for Conditional
Certification of FLSA Collective and Court Authorized Notification was served by electronic
filing with the clerk of the court using the ECF filing system, which will automatically notify all
registered counsel of record.

                                             /s/ Craig J. Franco
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